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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                            Plaintiff,           Cr. No. 08-20309
       v.
                                                 HONORABLE PATRICK J. DUGGAN
D-1 RICARDO VARGAS,

                            Defendant.
                                         /


        EX PARTE ORDER GRANTING PAYMENT OF WITNESS FEES

       This matter having come before the Court upon Defendant's ex parte motion for

defense witness fees at government expense and the Court being fully advised;

       IT IS HEREBY ORDERED that the defense witnesses, Marcella Martinez be paid

in the same manner in which similar costs and fees are paid in the case of a witness

subpoenaed on behalf of the government pursuant to Fed. R. Crim. P. 17(b).


                            s/Patrick J. Duggan
                            Patrick J. Duggan
                            United States District Judge

Dated: September 30, 2008

I hereby certify that a copy of the foregoing document was served upon counsel of record on
September 30, 2008, by electronic and/or ordinary mail.

                            s/Marilyn Orem
                            Case Manager
